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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

BILLY HAMMOND and ANN HAMMOND,

         Plaintiff,                                  Case No. 2:17-cv-10685

v.                                                   HONORABLE STEPHEN J. MURPHY, III

PARTNERS FOR PAYMENT RELIEF
DE II, LLC,

         Defendant.
                                         /

                                       JUDGMENT

     IT IS ORDERED AND ADJUDGED that pursuant to the Court's order dated

November 29, 2017, the Plaintiffs' federal claim is DISMISSED WITHOUT PREJUDICE.

The Clerk of Court is ORDERED to REMAND the Plaintiffs' state claim to the Circuit Court

for the 24th Judicial Circuit, County of Sanilac, State of Michigan.


                                   DAVID J. WEAVER
                                   CLERK OF THE COURT

                                   BY: s/D. Parker
                                   Deputy Clerk

APPROVED:

s/Stephen J. Murphy, III
STEPHEN J. MURPHY, III
UNITED STATES DISTRICT JUDGE

I hereby certify that a copy of the foregoing document was served upon the parties and/or
counsel of record on November 29, 2017, by electronic and/or ordinary mail.

s/David P. Parker
Case Manager
